                   Case: 1:14-cr-00107-MRB Doc #: 280 Filed: 02/05/16 Page: 1 of 6 PAGEID #: 1414


AO 24SB(Rev. 10/1S) Judgment in a Criminal Case
         Sheet I




                                         United States District Court
                                                  SOUTHERN District of OHIO (Cincinnati)
               UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                  v.


                                                                               Case Number:           l:14crl07-9
                        Donald Anderson
                                                                               USM Number:            72665-061

                                                                               Ty Foster, Esq.
                                                                               Defendant's Attorney
THE DEFENDANT:
£3 pleaded guilty tocount(s)       1ofthe Indictment
|~1 pleaded nolo contendere to count(s)
   which was accepted by the court.
|~| was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                      Offense Ended           Count
21 USC 841(a)(1),                Conspiracyto Possess with intent to DistributeCocaine                  10/21/2014       I
(b)(1)(C), 846, and
18 USC 2




       The defendant is sentenced as provided in pages2 through            6          of thisjudgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Q The defendant has been found not guilty on count(s)
|~| Count(s)                                           O is    O are dismissed on the motion ofthe United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to
pay restitution, thedefendant must notify thecourt andUnited States attorney of material changes in economic circumstances.

                                                                     1/26/2016
                                                                     Date of Imposition of Judgment




                                                                     Signature of Judge
                                                                                            &<


                                                                     Michael R. Barrett, United States District Judge
                                                                     Name and Title of Judge




                                                                     ^y- JZO't
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A024SB (Rev. JO/15) Judgment inCriminal Case
                    Sheet 2 — Imprisonment

 DEFENDANT:                  Donald Anderson                                                        Judgment-Page    2   of
 CASE NUMBER:                1:14cr107-9


                                                            IMPRISONMENT

 total term^fi efendant****** C°mmitted t0 the custody of^ United Stet« *"™" ofPrisons to be imprisoned for 1
 Count 1: forty-eight (48) months with credit for time served




    S The court makes the following recommendations to the Bureau ofPrisons:
           the Defendant be placed at a BOP facility which would offer HVAC certification; and to participate
           i the BOP RDAP.




   El The defendant is remanded to the custody ofthe United States Marshal.
   • The defendant shall surrender to the United States Marshal for this district:
        E-1 at .                               D a.m.       • p.m.           on
        D as notified by the United States Marshal.

   • The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:
       l~l before 2p.m. on
       •    as notified bythe United States Marshal.
       •    as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                        to

at -                           .                ,with acertified copy ofthis judgment.

                                                                                             UNITED STATES MARSHAL




                                                                        By
                                                                                          DEPUTY UNITED STATES MARSHAL
                        Case: 1:14-cr-00107-MRB Doc #: 280 Filed: 02/05/16 Page: 3 of 6 PAGEID #: 1416

AO 245B (Rev. 10/15) Judgment in aCriminal Case
        Sheet3 — Supervised Release

                                                                                                                   Judgment—Page          3      of
DEFENDANT:                      Donald Anderson
CASE NUMBER:                    1:14crl 07-9


                                                               SUPERVISED RELEASE

Upon release from imprisonment, thedefendant shall be onsupervised release for a term of:
Count 1: five (5) years subject to review by Probation/Motion by the Defendant after three (3) years
        The defendant must report tothe probation office in the district towhich the defendant isreleased within 72 hours of release from the custody of
the Bureau of Prisons.

The defendant shall not commit another federal, stateor local crime.
The defendant shall not unlawfully possess acontrolled substance. The defendant shall refrain from any unlawful use of acontrolled substance. The
defendant shall submit toone drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests thereafter, as determined bythe
court.

r—| The above drug testing condition is suspended, based on the court's determination that the defendant poses alow risk of
L-' future substance abuse. (Check, ifapplicable.)
IaI The defendant shall not possess afirearm, ammunition, destructive device, or any other dangerous weapon. (Check ifapplicable.)
E3 The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Check, ifapplicable.)
         Thedefendant shall comply with therequirements of the SexOffender Registration and Notification Act (42 U.S.C. § 16901, el seq.) asdirected by the
I I probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, isastudent, or was convicted
         ofa qualifying offense. (Check, ifapplicable.)
I I The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
             If this judgment imposes a fine orrestitution, it is a condition of supervised release thatthe defendant payin accordance with the Schedule of
Payments sheet ofthis judgment.
             The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)     the defendantshall not leavethe judicial districtwithout the permission ofthe courtor probation officer;
   2)      the defendantshall reportto the probation officer in a mannerand frequency directedby the courtor probation officer;
   3)      the defendantshall answertruthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendantshallwork regularly at a lawful occupation, unlessexcused by the probation officer for schooling, training, or other acceptable reasons;
   6)      the defendantshallnotify the probation officer at leastten days priorto any change in residence or employment;
   7)      the defendant shall refrain fromexcessive useofalcohol andshall not purchase, possess, use, distribute, or administer any controlled substance or any
           paraphernalia related to any controlledsubstances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold,used, distributed, oradministered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
           granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or herat anytime at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view ofthe probation officer,
  11)      thedefendant shall notifythe probation officer within seventy-two hours of being arrested orquestioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to actas an informer or a special agent of a law enforcement agency without the permission of the
           court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
           such notification requirement.
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A0245B (Rev. 10/15) Judgment inaCriminal Case
       Sheet3A — Supervised Release

hcccmhaxit                ^    ,. , .                                                                 Judgment—Page        4      of        6
DEFENDANT:                Donald Anderson
CASE NUMBER:              l:14crl07-9


                                     ADDITIONAL SUPERVISED RELEASE TERMS

The Defendant shall participate in aprogram ofrandom drug testing and treatment as directed by the United States Probation Department.
The Defendant shall participate in aworkforce development program as directed by the United States Probation Department.
The Defendant is prohibited from incurring any new credit charges or establishing additional lines ofcredit until the fine is paid in full and/or
The Defendant shall provide all financial information to the United States Probation Department
                 Case: 1:14-cr-00107-MRB Doc #: 280 Filed: 02/05/16 Page: 5 of 6 PAGEID #: 1418

AO 24SB (Rev. 10/15) Judgment in aCriminal Case
         Sheet 5 — Criminal Monetary Penalties

                                                                                                       Judgment — Page        5       of      6
 DEFENDANT:                        Donald Anderson
 CASE NUMBER:                      l:14crl07-9


                                                  CRIMINAL MONETARY PENALTIES

     Thedefendant must pay thetotal criminal monetary penalties under theschedule of payments on Sheet 6.

                       Assessment                                         Fine                              Restitution
TOTALS             $ 100.00                                           $                                 $

• The determination ofrestitution is deferred until                   .An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.


• The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                        Restitution Ordered                      Priority or Percentage




TOTALS


l~) Restitution amount ordered pursuant to plea agreement $

[~| The defendant must pay interest onrestitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuantto 18 U.S.C. § 3612(g).

|~1 The court determined that thedefendant does nothave theability to pay interest and it is ordered that:
      [""") the interest requirement is waived for the       Q fine       Q restitution.
      [~1 theinterest requirement for the         Q   fine    Q restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13,1994, but before April 23,1996.
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A0245B (Rev. 10/15) Judgment inaCriminal Case
       Sheet 6 — Schedule of Payments

                                                                                                            Judgment— Page                 of
DEFENDANT:                 Donald Anderson
CASE NUMBER:               l:14cr!07-9


                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
A g| Lump sum payment of$ 100.00                             due immediately, balance due
           l~~l not later than ___^                            ,or
           ^ in accordance       \J C, • D,                  • E,or          ^ Fbelow; or
B fj Payment to begin immediately (may be combined with • C,                         Qd,          Qf below); or
C •        Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                         (e.g„ months or years), to commence                    (e.g., 30or60days) afterthe dateofthis judgment; or
D •        Payment in equal                      (e.g„ weekly, monthly, quarterly) installments of $                           over aperiod of
                         (e.g., monthsor years), to commence                    (e.g„ 30or60days) afterrelease from imprisonmentto a
          term of supervision; or
     O Payment during the term ofsupervised release will commence within                                (e.g., 30 or 60 days) after release from
          imprisonment The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or
     £3 Special instructions regarding the payment ofcriminal monetary penalties:
        While incarcerated, ifthe Defendant is working in anon-UNICOR or Grade 5UNICOR job, the Defendant shall pay $25.00 per
          quarter toward his fine obligation. Ifworking in aGrade 1to 4UNICOR job, the Defendant shall pay 50% ofhis monthly pay
          toward the fine obligation. Anychange inthis schedule shall bemade only by order of this Court.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment Allcriminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


|~) Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, ifappropriate.




•    The defendant shall pay the cost ofprosecution.
O The defendant shall pay the following court cost(s):
£3 The defendant shall forfeit the defendant's interest in the following property to the United States:
     All assets which are proceeds of crime ortraceable to such proceeds ofcrime and all instruments used to aid incommitting crimes. Order
     to follow when appropriate.

Payments shall be applied inthe following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and(8) costs, including cost of prosecution andcourtcosts.
